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            1      COOLEY LLP
                   BOBBY GHAJAR (198719)
            2      bghajar@cooley.com
                   1333 2nd Street, Suite 400
            3      Santa Monica, CA 90401
                   Telephone: (310) 883-6400
            4      Facsimile: (310) 883-6500
            5      COOLEY LLP
                   AMANDA A. MAIN (260814)
            6      amain@cooley.com
                   3175 Hanover Street
            7      Palo Alto, CA 94304
                   Telephone: (650) 843-5000
            8      Facsimile: (650) 843-7400
            9      Attorneys for Defendant
                   ANHEUSER-BUSCH, LLC
         10
         11                            UNITED STATES DISTRICT COURT
         12                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
         13                           WESTERN DIVISION – LOS ANGELES
         14
         15        PATAGONIA, INC. and                Case No. 2:19-cv-02702-VAP
                   PATAGONIA PROVISIONS, INC.,
         16                                           DECLARATION OF BOBBY
                                 Plaintiffs,
         17                                           GHAJAR IN SUPPORT OF
                        v.                            STIPULATION TO EXTEND TIME
         18                                           TO RESPOND TO FIRST
                   ANHEUSER-BUSCH, LLC dba
         19        PATAGONIA BREWING CO. ,            AMENDED COMPLAINT

         20                      Defendant.
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  COOLEY LLP                                                    GHAJAR DECL. ISO STIP. TO EXT. TIME TO
ATTORNEYS AT LAW
                                                                     RESPOND TO 1ST AM’D COMPLAINT
  LOS ANGELES
                                                                       CASE NO. 2:19-CV-02702-VAP
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            1            I, Bobby Ghajar, declare:
            2           1.      I am a partner at the law firm Cooley LLP and lead counsel for Defendant
            3      Anheuser-Busch, LLC (“Anheuser”). I declare that the following statement is true to
            4      the best of my knowledge, information, and belief, and that if called upon to testify, I
            5      could and would testify to the following:
            6           2.      Good cause exists for this Court to grant the concurrently filed Stipulation
            7      to Extend Time to Respond to the First Amended Complaint filed by Plaintiffs
            8      Patagonia, Inc. and Patagonia Provisions, Inc. (“Plaintiffs”).
            9           3.      On June 5, 2019, Plaintiffs voluntarily filed a First Amended Complaint,
         10        adding a new cause of action, revising allegations for the Fifth, Seventh, and Eighth
         11        causes of actions, and making various other amendments.
         12             4.      On June 12, 2019, I met and conferred with Plaintiffs’ counsel regarding
         13        Defendant’s intent to file a motion to dismiss and we had a discussion regarding
         14        Plaintiffs’ claims.
         15             5.      At the close of business on Friday, June 14, 2019, Plaintiffs’ counsel
         16        responded to various issues that I had raised during our meet and confer.
         17             6.      The current deadline for Defendant’s Response to Plaintiffs’ First
         18        Amended Complaint is today, June 19, 2019.
         19             7.      Defendant is evaluating a motion to dismiss certain of the claims in the
         20        First Amended Complaint in light of the Parties’ meet and confer.
         21             8.      Due to the nature of the claims, the recent revisions made to the Complaint,
         22        and personal scheduling conflicts (including my travel plans, and Court-ordered
         23        obligations in other cases), Defendant needs additional time to prepare its motion or
         24        otherwise respond to the First Amended Complaint.
         25             9.      The Parties have agreed to extend the deadline for Defendant’s response
         26        to the First Amended Complaint by fourteen (14) days, to July 3, 2019.
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  COOLEY LLP                                                               GHAJAR DECL. ISO STIP. TO EXT. TIME TO
ATTORNEYS AT LAW                                               1.               RESPOND TO 1ST AM’D COMPLAINT
  LOS ANGELES
                                                                                  CASE NO. 2:19-CV-02702-VAP
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            1            10.     Without such additional time, I believe that Defendant would suffer
            2      unnecessary prejudice, as it would not have sufficient time to formulate its response to
            3      Plaintiffs’ First Amended Complaint.
            4            11.     Based on the Parties’ respective schedules, the Parties have also agreed to
            5      the following briefing schedule should Defendant file a motion to dismiss: Plaintiffs’
            6      opposition will be due on or before July 25, 2019, and Defendant’s reply will be due on
            7      or before August 5, 2019.
            8            12.     The Parties further agreed that the hearing on any such motion will be
            9      noticed for August 19, 2019 (or such other date that the Court deems appropriate).
         10        Opposing counsel and I both have a conflict on August 12, 2019.
         11              13.     The Parties have also agreed that, should Defendant file a motion to
         12        dismiss, Defendant need not file an answer until no earlier than fourteen (14) days after
         13        the Court’s ruling on such motion or after Plaintiffs’ filing of a second amended
         14        complaint, whichever occurs later.
         15
         16                I declare under penalty of perjury that the foregoing is true and correct. Executed
         17        on this 19th day of June, 2019
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         19                                                 /s/ Bobby Ghajar
                                                            Bobby Ghajar
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         22        206253102

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  COOLEY LLP                                                                 GHAJAR DECL. ISO STIP. TO EXT. TIME TO
ATTORNEYS AT LAW
  LOS ANGELES
                                                               2.                 RESPOND TO 1ST AM’D COMPLAINT
                                                                                   CASE NO. 2:19-CV-02702-VAP
